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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NEW YORK
                                      _____________________

                                        No 10-CR-074 (JFB)
                                      _____________________

                                 UNITED STATES OF AMERICA,

                                              VERSUS


                                ALDALBERTO ARIEL GUZMAN,

                                                             Defendant.
                                       ___________________

                                  MEMORANDUM AND ORDER
                                         July 26, 2012
                                     ___________________

 JOSEPH F. BIANCO, District Judge:                   filed with the Court, the Court conducted an
                                                     evidentiary hearing on the government’s
     On May 21, 2010, the government filed           transfer motion. On December 14, 2010, the
 a Juvenile Information against defendant            Court issued a Memorandum and Order
 Aldalberto Ariel Guzman (“Guzman” or                transferring the case to district court for
 “the defendant”) charging him with one              prosecution of the defendant as an adult.
 count of conspiracy to commit murder in aid
 of racketeering, 18 U.S.C. § 1959(a)(5); two            On September 16, 2011, Guzman moved
 counts of murder in aid of racketeering, 18         to suppress statements he made to law
 U.S.C. § 1959(a)(1); two counts of                  enforcement officers after his arrest on May
 discharging a firearm during a crime of             17, 2010, arguing that his waiver of his
 violence, 18 U.S.C. § 924(c)(1)(A)(iii); and        Miranda rights was not knowing and
 two counts of causing the death of another          voluntary due to the circumstances
 through the use of a firearm, 18 U.S.C.             surrounding his interrogation and the failure
 § 924(j)(1). Specifically, Guzman is charged        of law enforcement officials to contact his
 with participating, in aid of the racketeering      mother after his arrest. On October 7, 2011,
 activities of the MS-13 street gang, in the         the government opposed the motion to
 execution-style murder of a nineteen-year-          suppress. On December 5, 2011, the Court
 old woman and her two-year-old son in the           conducted an evidentiary hearing regarding
 woods of Central Islip on February 4, 2010.         Guzman’s motion. The Court allowed the
                                                     defendant to submit a post-hearing letter,
     The government subsequently moved,              which was filed on December 20, 2011. The
 pursuant to 18 U.S.C. § 5032, to transfer the       government responded on December 23,
 case to district court in order to prosecute        2011. Trial is scheduled to commence on
 the defendant as an adult. On November 29,          September 10, 2012.
 2010, after written submissions had been
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     For the reasons that follow, the motion          Instead, the Court adopts the approach of the
 to suppress is denied. In particular, Guzman         Sixth Circuit and holds that, under these
 argues, inter alia, that his post-arrest             circumstances, the test remains the same as
 statements should be suppressed because it           utilized for analyzing post-arrest statements
 is undisputed that the law enforcement               generally – that is, whether the Miranda
 agents failed to notify his parents of his           waiver was knowingly, voluntarily, and
 arrest as is required for a juvenile under the       intelligently made under the totality of the
 Juvenile Delinquency Act.                            circumstances. Under that test, the lack of
                                                      parental notification is simply one factor,
     As a threshold matter, although neither          among many – including the juvenile’s
 the Supreme Court nor Second Circuit has             experience and background, the conditions
 addressed this precise issue, the Court holds        of the interrogation, and the conduct of the
 that violations of the Juvenile Delinquency          law enforcement officials – that the Court
 Act’s parental notification requirement at           must consider under the totality of the
 the time of the juvenile’s arrest do not             circumstances.
 require a per se suppression of the juvenile’s
 post-arrest statements. The plain language of            Applying that test, the Court finds that
 the statute does not require such a remedy,          Guzman’s Miranda waiver was knowing,
 and such a rule could easily lead to absurd          intelligent, and voluntary. First, Guzman
 results that were clearly not intended by            was read his Miranda rights and signed a
 Congress. Here, the law enforcement agents           written waiver. Second, with respect to his
 had clear and compelling law enforcement             personal characteristics, Guzman was only
 reasons for deciding not to make the                 four days shy of his eighteenth birthday at
 parental notification – namely, (1) agents           the time of his arrest, was capable of logical
 believed that Guzman’s mother had assisted           and coherent thinking, was familiar with the
 Guzman and his co-conspirators’ flight to El         criminal justice system because of his prior
 Salvador after the murders, (2) agents were          arrests, and had lived independently of his
 on the ground in El Salvador at the time of          mother for several months in El Salvador.
 Guzman’s arrest in the United States looking         Third, the conditions of interrogation were
 for one of Guzman’s co-conspirators, and             conducive to a voluntary waiver in that,
 (3) agents were reasonably concerned that, if        inter alia, he was given food and drink,
 notification was made of Guzman’s arrest to          allowed to use the bathroom, and questioned
 his mother, that family or friends would alert       in a calm environment. Fourth, he was not
 the co-conspirator in El Salvador of this            subjected to any threatening or coercive
 development and thereby jeopardize the               statements or conduct by the interviewing
 safety and law enforcement objectives of the         law enforcement agents. Fifth, he did not
 agents in El Salvador in locating the co-            ask to speak to his mother or an attorney.
 conspirator. Per se suppression of Guzman’s          Having conducted a full evidentiary hearing
 post-statements under these circumstances            (including an evaluation of the demeanor of
 would provide a judicial windfall to                 the testifying witnesses), the Court finds
 Guzman, even though no such remedy is                Guzman’s version of the events in his
 dictated by the plain language of the statute,       affidavit to be wholly incredible and,
 or the United States Constitution. Thus, this        instead, fully credits the version of the
 Court declines to impose such a per se               interviewing agents as elicited at the
 suppression remedy for a violation of this           hearing. Accordingly, the Court finds that
 statutory (rather than constitutional) rule.         the government has met its burden of
                                                  2
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 proving by a preponderance of the evidence                    defendant’s affidavit, the Court makes the
 that the defendant voluntarily, knowingly,                    following findings of fact.
 and intelligently waived his Miranda rights.
                                                                   On April 23, 2010, United States
               I. FINDINGS OF FACT                             Magistrate Judge William Wall issued a
                                                               warrant for Guzman’s arrest, charging him
     The Federal Bureau of Investigations                      with knowingly and intentionally murdering
 (“FBI”) agents who detained and                               Vanessa Argueta and Diego Torres. (Ex. 1.)2
 interviewed Guzman on the day of his arrest                   At the time the arrest warrant was issued,
 testified at the suppression hearing. Guzman                  officials believed Guzman to be in El
 called no witnesses.1 After evaluating the                    Salvador. (Tr. 45:17-20.) Officials placed
 credibility of the witnesses (including their                 Guzman’s arrest warrant in the NCIC
 demeanor) and the other evidence offered at                   database that tracks fugitives and alerts law
 the evidentiary hearing, as well as the                       enforcement officials when a fugitive
                                                               surfaces in some way. (Id. 45:21-46:8.)
 1
   However, Guzman did submit an affidavit in which                On May 17, 2010, FBI Special Agent
 he stated, inter alia, “During that entire period of          Kathryn Weidman was alerted that Guzman
 time [between 6:00 p.m. and 10:30 p.m.] I requested           was scheduled to arrive at Miami
 an opportunity to call my mother who was in New
                                                               International Airport early that evening. (Id.
 York. Each time I requested to call my mother I was
 ignored. Throughout this entire time I was                    4:22-5:6.) Guzman arrived at the airport
 handcuffed.” (Guzman Aff. at ¶ 4.) Guzman also                aboard American Airlines flight 926,
 stated that at approximately 10:30 p.m., when FBI             arriving from El Salvador. (Id. 5:7-13; Ex.
 agents and Suffolk County detectives began their              3.) Weidman and two officers from the
 questioning, “I answered their questions, however, I
                                                               United States Customs and Border Patrol
 again requested a chance to speak with my mother
 and was denied. I was advised that unless I started           (“CBP”) met the plane at the gate. (Tr. 6:6-
 answering their questions, I would never see or talk          7.) The two CBP officers conducted a check
 to my mother again. I was repeated [sic] threatened           of all passengers on the flight, identified
 that if I did not cooperate with the agents/detectives        Guzman as the fugitive sought, and placed
 that I would receive the death penalty.                       him in custody. (Id. 6:13-7:9, 8:14-18.) The
 Agents/detectives yelled at me about telling them the
 truth while merely inches from my face. They stood            CBP officers conducted a pat-down of
 around me almost encircling me while they                     Guzman and placed him in handcuffs. (Id.
 repeatedly refused my request to speak to my mother.          8:16-18.) Guzman was transported to the
 Up to this point, I was never advised of my rights to         CBP holding area in the Terminal E office
 remain silent and/or speak to an attorney.” (Id. at           sometime between 6:30 and 7:00 p.m. (Id.
 ¶ 5.) Guzman stated, inter alia, that he signed the
 Advice of Rights form, “after being threatened for            8:16-9:2.)
 over thirty minutes by the agents/detectives.” (Id. at
 ¶ 6.) Guzman stated that the agents/detectives                    Once inside the CBP holding area,
 threatened to hit him and threatened that Guzman              Guzman was processed and then handcuffed
 would receive the death penalty. (Id. at ¶ 7.) To the         by one hand to a bench in the general area of
 extent Guzman’s affidavit conflicts with the
 testimony of the interviewing agents, the Court finds
                                                               the office. (Id. 9:5-7.) Guzman was offered
 Guzman’s version to be wholly incredible in light of          food and drink and allowed to use the
 the totality of the evidence, including the Court’s
                                                               2
 evaluation of the credibility of the FBI agents who              “Ex.” refers to exhibits admitted during the
 testified at the hearing. Instead, having conducted the       December 5, 2011 suppression hearing, and “Tr.”
 hearing, the Court finds the agents’ version of events        refers to citations to the transcript of the evidentiary
 (discussed infra) to be fully credible.                       hearing.
                                                           3
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 bathroom, if necessary. (Id. 9:12-15.)                      case. (Id. 48:20-49:4.) Both agents entered
 Guzman remained handcuffed to the bench                     the room, and Agent McMullen again
 until around 10:30 p.m., when Special Agent                 advised Guzman of the reason for his arrest.
 Sean McMullen, a Special Agent in the                       (Id. 49:5-9.)
 Long Island Division of the Federal Bureau
 of Investigations, arrived to question                           Agent McMullen then advised Guzman
 Guzman. (Id. 9:16-18, 10:11-13.) Between                    of his Miranda rights from an “Advice of
 his arrival at the CBP holding area and                     Rights” form. (Id. 49:10-15; Ex. 2.) Agent
 10:30 p.m., Guzman left the bench with an                   McMullen read from the form, and then
 escort to use the bathroom. (Id. 21:17-22:5.)               asked Guzman to read and repeat the rights
 While in the CBP holding area, Guzman did                   out loud. (Tr. 49:10-15.) Guzman initialed
 not ask to speak to his mother or an attorney.              each line under “Your Rights” with his
 (Id. 9:19-24.)                                              initials “AG.” (Id. 49:16-17, 50:23-25; Ex.
                                                             2.) Guzman signed under the “Waiver of
     When Agent McMullen arrived at the                      Rights” section, which stated, “I have read
 CBP office, he identified himself to Guzman                 this statement of my rights and I understand
 and informed Guzman that there was a                        what my rights are. At this time, I am
 warrant out for his arrest for the murders of               willing to answer questions without a lawyer
 Argueta and Torres. (Id. 47:8-15.) At that                  present.” (Ex. 2.) Guzman never appeared to
 time, Agent McMullen did not question                       have trouble understanding what the agents
 Guzman regarding the Argueta and Torres                     were saying (Tr. 49:22-25, 78:16-20); he
 murders or Guzman’s alleged involvement                     also never stated that he did not understand
 in La Mara Salvatrucha (“MS-13”), a street                  his rights. (Id. 52:20-23.) Guzman did not
 gang with members on Long Island. (Id.                      ask to speak with an attorney. (Id. 15:5-6,
 47:16-21.) Guzman’s demeanor was calm                       53:2-3.) Guzman did not ask to speak with
 throughout this encounter. (Id. 47:22-23.)                  his mother. (Id. 52:24-53:1.)

     Agents McMullen and Weidman moved                           At the time of his arrest, Guzman was
 Guzman into an interview room in the CBP                    four days away from his eighteenth birthday.
 office.3 (Id. 10:22-25, 48:18-19.) The room                 (Ex. 4.) Agent McMullen was aware that
 was windowless, as the office was                           Guzman was a juvenile and was also aware
 underground; however, there was an                          of the procedures for juvenile arrests. (Tr.
 observation window in the door that opened                  66:22-24, 60:20-61:2.) Agent McMullen
 to the CBP office. (Id. 27:4-9, 32:3-4, 69:12-              also was aware of the identity of Guzman’s
 14.) After Guzman was placed in the room,                   mother, and he knew that Guzman had lived
 Agent McMullen stepped out with Agent                       with her in Central Islip. (Id. 58:14-18.)
 Weidman to give her basic facts about the                   Agent McMullen did not contact Guzman’s
                                                             mother to notify her of Guzman’s arrest
 3
                                                             before his interview with Guzman. (Id.
   There is conflicting evidence regarding whether           60:17-19.) Agent McMullen had received
 Guzman was handcuffed in the interview room.
 Agent Weidman testified that Guzman was                     permission from his supervisor and the U.S.
 handcuffed by one hand to the bench. (Tr. 10:23-            Attorney’s Office to interview Guzman
 11:2.) Agent McMullen testified that Guzman was             without notifying his mother. (Id. 60:23-
 not handcuffed in the interview room. (Id. 68:18-21.)       61:5.) McMullen testified that the decision
 Based upon the agents’ testimony, the court assumes         not to notify Guzman’s mother was made
 for purposes of this motion that Guzman was
 handcuffed by one hand to the bench.                        because Guzman’s mother helped Guzman
                                                         4
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 and his two co-conspirators flee to El                 woods where Argueta and Torres were
 Salvador, sent Guzman money and cell                   killed. (Ex. 3.) Agent McMullen again stated
 phones while Guzman was in El Salvador,                that this information contradicted what he
 and indicated on taped phone calls that she            and other officials knew to be the facts of
 was aware of the murders. (Id. 60:2-8, 61:7-           the case. (Tr. 71:25-72:5; Ex. 3.)
 16.) At the time of the interview, two FBI
 agents were in El Salvador looking for                     About one and one-half hours into the
 Guzman and his co-conspirator known as                 interview, Gerard McAlvin and Robert
 Cruzito (“Cruzito”), and they had honed in             Chase, detectives from the Suffolk County
 on a general location for Cruzito. (Id. 61:20-         Police Department, entered the interview
 62:10, 77:23-78:15.) Agent McMullen was                room. (Tr. 72:10-13; Ex. 3.) Guzman then
 concerned that Guzman’s mother or his                  stated that he entered the woods with
 friends and family would alert Cruzito to the          Cruzito and Zorro, and Zorro shot Argueta
 arrest and cause him to flee the location. (Id.        twice and Cruzito shot Torres twice. (Ex. 3.)
 62:2-63:1.) Agent McMullen was also                    Guzman was again informed that this
 concerned for the safety of the FBI agents in          information contradicted what Agent
 El Salvador if Guzman’s mother was alerted             McMullen knew to be the facts of the case.
 to the arrest. 4 (Id. 66:1-5.)                         Guzman then stated that, on the day before
                                                        the murder, Cruzito, Zorro and Guzman
     After administering the Miranda                    agreed that a “mission” was necessary to kill
 warnings and obtaining Guzman’s written                Argueta. (Id.) The next day, Cruzito picked
 waiver, Agent McMullen began questioning               up Guzman from the Auto Zone in Central
 Guzman with Agent Weidman present in the               Islip. Argueta and Torres were already in the
 interview room. (Id. 15:10-16, 53:10-13.)              car. (Id.) They traveled to pick up Zorro in
 Guzman stated that he had been a member                Patchogue. (Id.) They then drove to another
 of MS-13 since he was approximately ten                house where an MS-13 member provided
 years old. (Id. 54:18-24; Ex. 3.) Guzman               them with a gun. (Id.) They traveled to a
 joined a MS-13 clique in California before             wooded area, where they exited the car and
 moving to Central Islip, New York. In                  walked into the woods. Zorro shot Argueta
 Central Islip, Guzman joined the Islip Locos           once in the temple, and then Guzman shot
 Salvatruchos clique of MS-13. (Tr. 55:10-              her in the chest. (Id.) Cruzito then shot
 12; Ex. 3.)                                            Torres twice in the head. (Id.) Cruzito, Zorro
                                                        and Guzman ran out of the woods and drove
    Guzman stated that he had heard that                away. (Id.) Cruzito wiped down the gun
 Cruzito killed Argueta and Torres. (Ex. 3.)            with his socks and then returned it to the
 Agent McMullen stated that this information            MS-13 member who had provided the gun
 contradicted what he and other officials               earlier in the day. (Tr. 54:7-11; Ex. 3.)
 knew to be the facts of the case. (Tr. 71:25-          Cruzito, Zorro and Guzman then fled to El
 72:5; Ex. 3.) Guzman then stated that he was           Salvador. (Tr. 54:12-14; Ex. 3.)
 with Cruzito and another MS-13 member,
 known as Zorro (“Zorro”), along with                       Guzman also explained the purpose
 Argueta and Torres, on the day of the                  behind his tattoo of three dots on his knee.
 murders, but that he did not go into the               Guzman stated that the three dots stand for
                                                        how he will live his life as a member of MS-
 4                                                      13: death, penalty, and thinking. (Tr. 55:13-
  Guzman’s mother was notified of his arrest when
 Guzman was going to court. (Tr. 60:9-16.)              23, Ex. 3.) Guzman explained that the dot
                                                    5
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 that represents thinking signifies that he is a       U.S. 412, 420 (1986) (quoting Miranda, 384
 “thinker.” (Tr. 55:16-23, Ex. 3.)                     U.S. at 468-70). Once an accused is apprised
                                                       of these rights, he may waive them
     The interview lasted between three and            “provided the waiver is made voluntarily,
 three and one-half hours. (Tr. 63:2-3, 73:23-         knowingly and intelligently.” Miranda, 384
 25.) Guzman’s demeanor was calm                       U.S. at 444; Moran, 475 U.S. at 421
 throughout the entire interview. (Id. 63:12-          (quoting Miranda).
 14.) Guzman, the agents and the detectives
 remained seated throughout the interview;                 When a defendant moves to suppress a
 the agents and detectives stood only to walk          statement that he claims was obtained in
 in and out of the room. (Id. 74:18-24.)               violation of Miranda, the government has
 Guzman requested and was given candy bars             the burden of proving by a preponderance of
 and fruit punch during the interview. (Id.            the evidence that the statement was made
 63:4-11.) Guzman never requested to speak             after a voluntary, knowing and intelligent
 with his mother or an attorney throughout             waiver of the defendant’s Miranda rights.
 the interview, and he never exercised his             See Colorado v. Connelly, 479 U.S. 157,
 right to remain silent or requested that the          168 (1986); United States v. Anderson, 929
 questioning cease. (Id. 64:13-21.) Guzman             F.2d 96, 99 (2d Cir. 1991). For a waiver to
 was not threatened with physical violence or          be voluntary, the waiver must have been
 the death penalty during the interview. (Id.          “the product of a free and deliberate choice
 19:18-19, 37:19-22, 63:19-23.) The agents             rather than intimidation, coercion, or
 and detectives did not yell at Guzman at any          deception.” Moran, 475 U.S. at 421. In
 point in the interview. (Id. 19:15-17.)               addition, for a defendant to make a knowing
                                                       and intelligent waiver, he must have “a full
                II. DISCUSSION                         awareness of both the nature of the right
                                                       being abandoned and the consequences of
              A. Legal Standard                        the decision to abandon it.” Id. However, the
                                                       accused need not “know and understand
        1. Waiver of Miranda Rights                    every possible consequence of a waiver of
                                                       the Fifth Amendment privilege.” Colorado
     In Miranda v. Arizona, 384 U.S. 436
                                                       v. Spring, 479 U.S. 564, 574 (1987). Instead,
 (1966), the Supreme Court determined that
                                                       the accused need only be aware that “he may
 “in order to combat [the pressures
                                                       choose not to talk to law enforcement
 surrounding in-custody interrogations] and
                                                       officers, to talk only with counsel present, or
 to permit a full opportunity to exercise the
                                                       to discontinue talking at any time.” Id.
 privilege against self-incrimination, the
 accused must be adequately and effectively                “Whether a waiver is ‘knowing and
 apprised of his rights and the exercise of            voluntary’ is a question directed to a
 those rights must be fully honored.” Id. at           defendant’s state of mind, which can be
 467. Accordingly, “prior to the initiation of         inferred from his actions and statements.”
 questioning,” the government must inform a            United States v. Spencer, 995 F.2d 10, 11
 suspect of “the [government’s] intention to           (2d Cir. 1993). Further, as the Supreme
 use his statements to secure a conviction,            Court has stated, “the question of waiver
 and must inform him of his rights to remain           must be determined on ‘the particular facts
 silent and to ‘have counsel present . . . if          and circumstances surrounding [the] case,
 [he] so desires.’” Moran v. Burbine, 475              including the background, experience, and
                                                   6
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 conduct of the accused.’” North Carolina v.          probation officer, was per se involuntary);
 Butler, 441 U.S. 369, 374-75 (1979)                  see also Hall v. Thomas, 611 F.3d 1259,
 (quoting Johnson v. Zerbst, 304 U.S. 458,            1289 (11th Cir. 2010) (“In any event, even if
 464 (1938)). The totality of the                     [the juvenile] had requested the presence of
 circumstances also is properly utilized in           his father, this request would not
 determining whether there has been a waiver          automatically render his waiver and
 where the interrogation of juveniles is              confession involuntary as a matter of federal
 involved. Fare v. Michael C., 442 U.S. 707,          law. Regardless of what Alabama law
 724-25, 99 S. Ct. 2560 (1979); see also              requires, there is no clearly established
 United States v. Burrous, 147 F.3d 111, 116          federal constitutional requirement: (1) that
 (2d Cir. 1998) (“In the case of interrogation        police officers advise juveniles, suspected of
 of a juvenile, we examine the totality of the        state crimes, of a right to have a parent
 circumstances culminating in the waiver.”).          present during questioning, or (2) that
 As the Supreme Court has explained,                  interrogation cease upon a juvenile’s request
                                                      for the presence of a parent or guardian.”);
    This     totality-of-the-circumstances            Hardaway v. Young, 302 F.3d 757, 763 (7th
    approach is adequate to determine                 Cir. 2010) (“[T]he mere absence of a
    whether there has been a waiver even              friendly adult is by itself insufficient to
    where interrogation of juveniles is               require suppression of a juvenile
    involved. We discern no persuasive                confession.”); Blankenship v. Estep, No. 05-
    reasons why any other approach is                 CV-02066-WDM-KLM, 2008 WL 4964712,
    required where the question is                    at *4 (D. Colo. Nov. 18, 2008) (“it is not a
    whether a juvenile has waived his                 fundamental right to have a parent or
    rights, as opposed to whether an                  guardian      present     during      Miranda
    adult has done so. The totality                   advisements and waivers by juveniles”).
    approach permits – indeed, it
    mandates – inquiry into all the                       However, an arrestee’s juvenile status
    circumstances       surrounding    the            and the absence of a parent are certainly
    interrogation.       This     includes            important factors that must be considered in
    evaluation of the juvenile’s age,                 assessing the voluntariness of a juvenile’s
    experience, education, background,                statement. See, e.g., Doody v. Schriro, 548
    and intelligence, and into whether he             F.3d 847, 867 (9th Cir. 2008) (“Even though
    has the capacity to understand the                [the juvenile] agreed at the outset to speak to
    warnings given him, the nature of his             the officers without his parents present, the
    Fifth Amendment rights, and the                   absence of a friendly adult is a factor in
    consequences of waiving those                     assessing the voluntariness of a juvenile’s
    rights.                                           confession.”); Gilbert v. Merchant, 488 F.3d
                                                      780, 791 (7th Cir. 2007) (“[T]he absence or
 Fare, 442 U.S. at 725 (citation omitted).            presence of a parent or other friendly adult
                                                      [is an] additional factor[ ] that bear[s] on the
     Moreover, there is no constitutional right       voluntariness of the juvenile’s confession.”);
 for a juvenile to have a parent or guardian          Hardaway, 302 F.3d at 765 (“Even refusing
 present during questioning. See, e.g., see           a child’s request to have a parent or other
 Fare, 442 U.S. at 723-27 (declining to hold          friendly adult (other than a lawyer) present
 that 16-year old’s waiver of Miranda rights          is not enough to suppress the confession if
 in the absence of a friendly adult, i.e., a          other factors indicate that the confession was
                                                  7
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 voluntary, and Hardaway made no such                        2. Juvenile Delinquency Act
 request here. However, in marginal cases –
 when it appears the officer or agent has                Under the Juvenile Delinquency Act
 attempted to take advantage of the suspect’s         (“JDA”),
 youth or mental shortcomings – lack of
 parental or legal advice could tip the balance          [w]henever a juvenile is taken into
 against admission.” (quotations and citations           custody for an alleged act of juvenile
 omitted)).                                              delinquency, the arresting officer
                                                         shall immediately advise such
     Thus, the Supreme Court has warned                  juvenile of his legal rights, in
 that, in assessing the voluntariness of                 language comprehensive to the
 juvenile confessions, a court must exercise             juvenile, and shall immediately
 “special caution.” In re Gault, 387 U.S. 1,             notify the Attorney General and the
 45 (1967). In In re Gault, the Supreme Court            juvenile’s parents, guardian, or
 explained:                                              custodian of such custody. The
                                                         arresting officer shall also notify the
    [T]he constitutional privilege against               parents, guardian, or custodian of the
    self-incrimination is applicable in the              rights of the juvenile and of the
    case of juveniles as it is with respect              nature of the alleged offense.
    to adults. We appreciate that special
    problems may arise with respect to                   The juvenile shall be taken before a
    waiver of the privilege by or on                     magistrate judge forthwith. In no
    behalf of children, and that there                   event shall the juvenile be detained
    may well be some differences in                      for longer than a reasonable period
    technique – but not in principle –                   of time before being brought before a
    depending upon the age of the child                  magistrate judge.
    and the presence and competence of
    parents. The participation of counsel             18 U.S.C. § 5033. Neither the Supreme
    will, of course, assist the police,               Court nor the Second Circuit has decided
    Juvenile Courts and appellate                     whether the failure to notify a parent or
    tribunals in administering the                    guardian under this statute gives rise to a
    privilege. If counsel was not present             suppression remedy. See Burrous, 147 F.3d
    for some permissible reason when an               at 116 (“In view of this tension, we decline
    admission was obtained, the greatest              to decide whether, and if so, when a failure
    care must be taken to assure that the             to notify may give rise to a suppression
    admission was voluntary, in the                   remedy under section 5033. We hold only
    sense not only that it was not coerced            that Burrous’ statements, taken after a
    or suggested, but also that it was not            repeated and fruitless good faith inquiry
    the product of ignorance of rights or             designed to locate the detained juvenile’s
    of adolescent fantasy, fright or                  parents, were admissible in evidence.”). In
    despair.                                          other words, although the Supreme Court
                                                      has held that the “totality of the
 Id. at 55; see generally J.D.B. v. North             circumstances” test applies generally to
 Carolina, 131 S. Ct. 2394, 2403-06 (2011)            statements by juveniles, it has not addressed
 (discussing issue of child’s age in context of       whether the test should apply if a violation
 Miranda custody analysis).                           of the JDA occurs due to a failure to notify
                                                  8
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 the parents after the juvenile’s arrest, as            the proper remedy for some violations of the
 required under Section 5033.                           Fourth Amendment, there is no exclusionary
                                                        rule generally applicable to statutory
     In evaluating whether violations of the            violations.”).5
 JDA’s parental notification requirement
 automatically require a suppression remedy,                Second, there is nothing in the statute’s
 this Court looks to the general purpose of             text which indicates that Congress believed
 the exclusionary rule and guidance from the            the rights conferred under Section 5033 of
 Supreme Court and other circuits in                    the JDA were critical enough to warrant
 analogous circumstances. The exclusionary              such a drastic remedy. The plain language of
 rule is a prudential doctrine created by the           the statute does not require suppression
 Supreme Court to “compel respect for the               when the JDA’s parental notification
 constitutional guaranty.” Davis v. United              requirement has been violated. Of course,
 States, 131 S. Ct. 2419, 2426 (2011)                   Congress knows how to create such a
 (quoting Elkins v. United States, 364 U.S.             remedy in a statute if it wishes and, thus, its
 206, 217, (1961)). The exclusionary rule “is           absence from Section 5033 of the JDA
 not a remedy we apply lightly.” Sanchez-               supports the conclusion that Congress did
 Llamas v. Oregon, 548 U.S. 331, 347, 126               not intend to provide a suppression remedy
 S. Ct. 2669 (2006). The Supreme Court has              for a violation of the parental notification
 emphasized that “the rule’s ‘costly toll’              provision of the JDA. As Congress did not
 upon truth-seeking and law enforcement                 provide for such a remedy, it is not the role
 objectives presents a high obstacle for those          of the Court to judicially impose one. See
 urging the application of the rule.” Pa. Bd.           Clenney, 631 F.3d at 667 (“Congress has
 of Prob. & Parole v. Scott, 524 U.S. 357,              shown that it knows how to create a
 364-65 (1998) (quoting United States v.                statutory remedy. It did so in 18 U.S.C. §
 Payner, 447 U.S. 727, 734 (1980)).                     2515, which provides for suppression of
                                                        evidence obtained in violation of the statutes
     This Court holds that violations of the            governing wiretaps. Yet it chose not to do so
 JDA’s parental notification requirement do             in the context of § 2703(c) violations.
 not require a per se suppression remedy.               Therefore, Congress has made clear that it
 First, the JDA is a statute, not a                     did not intend to suppress evidence gathered
 constitutional rule requiring heightened               as a result of § 2703(c) violations.”)
 protection. See United States v. Donovan,              Additionally, if Congress intended to
 429 U.S. 413, 432 n.22 (1977) (“The                    prevent questioning of a juvenile without
 availability of a suppression remedy for . . .         parental involvement, it could have included
 statutory, as opposed to constitutional                an additional provision in the JDA that
 violations . . . turns on the provisions of [the       required law enforcement officials to notify
 statute] rather than the judicially fashioned          the juvenile that his or her parent could be
 exclusionary rule aimed at deterring                   present and/or that gave the parent the right
 violations of Fourth Amendment rights.”);              to be present at the juvenile’s interrogation.
 United States v. Clenney, 631 F.3d 658, 667            In short, the statutory text does not suggest,
 (4th Cir. 2011) (“[i]n the statutory context,
                                                        5
 suppression is a creature of the statute, and            Though many cases discuss statutory violations in
 its availability depends on the statutory              the context of Fourth Amendment concerns, the
 text”); United States v. Abdi, 463 F.3d 547,           considerations are the same when the statute
                                                        implicates the Fifth Amendment. See Sanchez-
 556 (6th Cir. 2006) (“Although exclusion is            Llamas, 546 U.S. at 2681.
                                                    9
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in any way, that Congress intended a per se                  suppression rule for violations of the
suppression remedy for violations of the                     parental notification requirement has no
JDA’s parental notification requirement.                     support in the plain text of the law or logic,
                                                             and this Court declines to adopt it.
    Third, a per se exclusion of statements
obtained after violations of the JDA’s                            In fact, both the Sixth and Ninth Circuits
parental notification requirement could lead                 have similarly held that the failure to notify
to absurd results that Congress clearly would                a parent upon arrest under the JDA does not
not have intended by passing the law. For                    lead to per se exclusion of the juvenile’s
example, there may be situations where law                   post-arrest statements. However, these
enforcement officials have compelling                        Circuits have developed different tests to
reasons not to notify a parent before                        analyze violations of the JDA’s parental
questioning the juvenile. The juvenile’s                     notification requirement. The Sixth Circuit
parent may have played some role in the                      has held that the failure to notify a juvenile’s
alleged criminal enterprise, and notifying a                 parents does not require a per se exclusion
parent may alert the criminal enterprise to                  of the juvenile’s confession; instead, “the
police suspicion. Under such circumstances,                  admissibility of [the juvenile’s] statements is
law enforcement officials may be                             still a function of whether they were
legitimately concerned about the safety of                   knowingly and voluntarily made.” United
undercover agents, the destruction of                        States v. Doe, 226 F.3d 672, 679 (6th Cir.
evidence, or the flight of suspects.                         2000). The Ninth Circuit, however, has held
Additionally, a juvenile may lie about his                   that when Section 5033 of the JDA is
age (and say he is over 18), not necessarily                 violated, the court must first evaluates
to induce violations of the JDA’s parental                   “whether the government’s conduct was so
notification requirement, but rather to avoid                egregious as to deprive [the juvenile] of his
criminal prosecution, as may be the case if a                right to due process of law.” United States v.
juvenile is apprehended with false                           Juvenile Male, 595 F.3d 885, 902 (9th Cir.
identification indicating an age above                       2010) (quoting United States v. D.L., 453
eighteen. A per se exclusion under Section                   F.3d 1115, 1120 (9th Cir. 2006) (internal
5033 would punish law enforcement                            quotation marks omitted)). If the court does
officials who reasonably rely on a juvenile’s                not reverse based on a due process violation,
representations. Finally, one could have the                 the court must consider whether the
situation where a juvenile may turn from                     “violation was harmless to the juvenile
seventeen to eighteen years old over the                     beyond a reasonable doubt.” Id. (quoting
hours he is in custody, and a per se rule                    D.L., 453 F.3d at 1120). If the violation
could require the court to suppress the                      caused prejudice to the defendant, the court
juvenile’s statement if there was no parental                has “discretion to reverse the conviction or
notification at the time of arrest, even                     order other more limited remedies so as to
though he was 18 years-old at the time of his                ensure that the ‘prophylactic safeguard for
actual questioning.6 In short, a per se                      juveniles not be eroded or neglected.’” Id. at
                                                             903 (quoting U.S. v. Wendy G., 255 F.3d
6
  Although such a situation may seem unlikely, it            761, 765 (9th Cir. 2001)). When assessing
could have occurred in this case had Guzman been             prejudice, the Ninth Circuit considers first
arrested at the airport (at the exact same time) only        whether any of the violations of the JDA
three days later on the night of May 20, 2010, which
would have resulted in him turning 18 years-old (on          caused the juvenile’s statement. Id. at 903. If
May 21, 2010) while in custody.                              so, the court next considers whether the
                                                        10
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juvenile was prejudiced by his statement.                       situations under the totality of the
Id. at 904.7                                                    circumstances, the Court declines to impose
                                                                a heightened test such as the one articulated
     B. Analysis under the Sixth Circuit                        by the Ninth Circuit.
                 Standard
                                                                    As an initial matter, in applying the
    The Court finds the Sixth Circuit’s legal                   Sixth Circuit test, it is important to note that
framework regarding the JDA parental                            Guzman does not dispute that he was read
notification requirement in the context of a                    Miranda warnings or that he speaks English.
motion to suppress a juvenile’s post-arrest                     Instead, Guzman asserts that the agents and
statements to be persuasive and adopts it as                    detectives threatened him with physical
the applicable standard. Accordingly, the                       violence and the death penalty if he did not
Court holds that the failure to notify a parent                 confess to the murders. Guzman also
or guardian under Section 5033 after the                        contends that he repeatedly requested to
juvenile’s arrest (and the absence of such                      speak with his mother or an attorney, but
parent at questioning) is one of the factors                    was denied. Guzman argues that, because of
that the Court is to consider when evaluating                   these events, he did not knowingly and
the totality of the circumstances surrounding                   voluntarily waive his Miranda rights.
a juvenile’s statements to law enforcement,                     Guzman also suggests that his mental
in order to determine whether the Miranda                       capacity is diminished, and therefore his
waiver was valid. Although “special                             waiver was not knowing and voluntary. For
caution” is required in assessing such                          the reasons that follow, the Court finds that
                                                                the government has met its burden of
7
   Although the Second Circuit has never addressed              proving by a preponderance of the evidence
this issue, Judge Newman did discuss this issue in a
                                                                that the defendant voluntarily, knowingly
dissent. See, e.g., United States v. Male Juvenile (95-
CR-1074), 121 F.3d 34, 43-44 (2d Cir. 1997)                     and intelligently waived his Miranda rights.
(Newman, J., dissenting). In particular, in
determining whether a Section 5033 violation                        In applying the totality of the
requires suppression, Judge Newman proposed a test              circumstances test, the Court considers: “(1)
similar to the one articulated by the Ninth Circuit. Id.        the characteristics of the accused, (2) the
at 44 (“It may well be that not every instance of
noncompliance with the requirements of section 5033
                                                                conditions of the interrogation, and (3) the
invalidates a juvenile’s confession. See United States          conduct of the law enforcement officials.
v. Doe, 701 F.2d 819, 822-23 (9th Cir. 1983) (prompt            The relevant characteristics of the individual
notification excused where parents outside the United           who confessed are the individual’s
States). But where compliance is readily feasible,              experience and background, together with
lack of compliance ought not to be excused unless it
appears, with reasonable certainty, that the
                                                                the suspect’s youth and lack of education or
noncompliance did not contribute to obtaining the               intelligence.” Green v. Scully, 850 F.2d 894,
confession.”). Applying that test, Judge Newman                 901-902 (2d Cir. 1988). The Court will
concluded that the statement in that case should have           address each of these factors in turn.
been suppressed because “[t]he likelihood is that the
mother, informed of her son’s peril and of his rights,             1. Guzman’s Personal Characteristics
would have advised him not to speak to the agents
before obtaining legal representation.” Id. The
majority, however, declined to address this issue at                Guzman’s     personal    characteristics
all because it found the issue was not raised in the            strongly support a finding that the waiver
district court or on appeal, and was therefore waived.
Id. at 42 n.5 (Meskill, J.).

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was knowing, intelligent, and voluntary.8                        of the subjects he studied while at
Guzman was just four days shy of his                             OCFS-Brookwood, including a 93 in
eighteenth birthday at the time of his                           New York State History, an 85 in
confession, and he had lived independent of                      English, and an 88 in American
his mother in El Salvador for several                            History. (See Dr. Drob Report at 5.)
months. Guzman was born in the United
States and was familiar with the criminal                     United States v. Juvenile Male, No. 10-cr-
justice system by virtue of having been                       421(JFB), Memorandum and Order at 10,
arrested on several occasions and detained in                 Dec. 14, 2010, ECF No. 29. The Court notes
a juvenile correction facility. (Ex. 6, Ex. 8.)               that Dr. Drob found that, based on the
Though Guzman’s scaled IQ score of 66 on                      Rorschach Inkblot Method (“RIM”) exam,
the Wechsler Abbreviated Scale of                             defendant had a “very high elevation” on a
Intelligence exam is in the deficient range of                scale of borderline tendencies, which led Dr.
intellectual functioning, (Ex. 8) Guzman is                   Drob to conclude that Guzman’s level of
not mentally retarded. (Id.) Additionally, as                 maturity was well below what would be
the Court found in the opinion transferring                   expected for others his age. (Ex. 11,
Guzman to adult status,                                       Transfer Tr. at 21:22-23, 22:24-23:3).
                                                              However, the Court also finds the following
    As Dr. Drob explained in his report,                      facts, in conjunction with the other evidence
    the defendant’s overall low score                         discussed infra, demonstrate that Guzman
    was “compromised by a very                                can form a knowing, intelligent and
    deficient performance on the Block                        voluntary waiver of his Miranda rights: Dr.
    Design subtest,” which is a                               Drob found that (1) defendant only lacked
    nonverbal test of perceptual motor                        the maturity of a “well functioning” adult
    ability. (Dr. Drob Report at 5; see                       (id. at 26:1-6), (2) defendant was capable of
    also Tr. at 19:15-20:1.) In contrast,                     logical and coherent thinking (id. at 25:10-
    the defendant’s performance on a                          11), and (3) defendant’s results on the RIM
    vocabulary test was much better,                          could have been the result, at least in part, of
    and, in fact, Dr. Drob found the                          emotional impairments, as opposed to solely
    defendant’s reading skills to be                          the result of cognitive deficits. (Id. at 24:14-
    “rather impressive.” (Dr. Drob                            20.) See, e.g., United States v. Male Juvenile
    Report at 5.) Indeed, the defendant                       (95-CR-1074), 121 F.3d 34, 40 (2d Cir.
    told Dr. Drob that “he has always                         1997) (“However, even if we were to
    enjoyed reading” (id. at 3) and that                      consider the psychological reports along
    “he reads books and newspapers                            with the mother’s testimony of defendant’s
    quite regularly.” (Tr. at 14:25-15:1.)                    mental disabilities, we still would reject
    These statements are consistent with                      defendant’s argument as to competency. The
    the defendant’s high marks in some                        evidence of defendant’s disabilities does not
                                                              show that defendant was so incompetent that
8
  In evaluating the characteristics of Guzman, the            he was not aware “both of the nature of the
Court notes that there has been extensive evidence on         right being abandoned and the consequences
Guzman’s experience, background, education and                of the decision to abandon it.” Colorado v.
intelligence at the transfer hearing in this case. The        Spring, 479 U.S. 564, 573, 107 S. Ct. 851,
Court evaluated the report and testimony of
psychologist Dr. Sanford Drob, which was again
                                                              857, 93 L.Ed.2d 954 (1987) (quotation
presented as evidence at the suppression hearing and          omitted). Although his mother’s testimony
evaluated in connection with this motion.                     and the psychological reports indicate that
                                                         12
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defendant has a host of attentional and               he did, (id. 21:21-22:5) and he was not
learning disabilities, nothing in the                 subject to any substantive questions while in
testimony or psychological reports indicates          this area. (Id. 9:25-10:1, 23:24-24:7, 47:16-
that defendant could not comprehend the               18.) When Agent McMullen arrived, he
rights that were explained and read to                immediately informed Guzman of the
him.”).                                               alleged crimes. After the interview began,
                                                      Guzman was given food and drink when he
     2. Conditions of the Interrogation               requested it. The size of the room where the
                                                      interview took place was an adequate size
     The Court finds that, although Guzman            and had a window to the CBP office. The
was detained, handcuffed to a bench, for              interview lasted three and one-half hours.
nearly four hours prior to the start of the           Nothing regarding the conditions of the
interview, the overall circumstances of the           interrogation suggests that Guzman’s will
interrogation also support a finding that             was overborne.
Guzman’s waiver of his Miranda rights was
still knowing, voluntary and intelligent. See,         3. Conduct of Law Enforcement Officials
e.g., United States v. Mikelic, No. 3:10-cr-
132 (CFD), 2011 WL 4368565, at *13 (D.                    The Court finds that the conduct of the
Conn. Sept. 19, 2011) (“The Court finds that          law enforcement officials involved in
Mikelic voluntarily waived his Miranda                Guzman’s arrest, detention and interview
rights in the restaurant parking lot. As              also support a finding that Guzman’s waiver
discussed in the foregoing analysis, Mikelic          was constitutionally valid. First, as noted
indicated to Agent Rubinstein that he                 supra, the Court finds that Agent
understood his rights but that he wanted to           Weidman’s description of Guzman’s arrest,
answer some questions. Although Mikelic               detention at CBP, and subsequent interview
was handcuffed at the time with his hands             is fully credible. The Court finds that
behind his back, there are no other                   Guzman’s demeanor was calm, and that at
circumstances suggesting that Mikelic’s               no time did Guzman request that his mother
waiver of his rights was coerced; Mikelic             be contacted. Second, the Court finds that
was only in the back of the law enforcement           Agent McMullen’s description of his
vehicle for approximately ten or fifteen              administration of the Miranda warnings and
minutes after being advised of his Miranda            of Guzman’s subsequent waiver was also
rights and there is no indication that the law        fully credible. At no time did Guzman
enforcement      officers’    conduct      was        indicate that he did not understand the
coercive.”); see also United States v.                warnings. The Court finds that Guzman
Ansaldi, 372 F.3d 118, 129 (2d Cir. 2004)             never requested to speak with his mother or
(“This record supports the District Court’s           an attorney. Moreover, contrary to
finding that the consent given to enter the           Guzman’s affidavit, the Court finds that the
house was voluntary. The fact that police             agents and detectives did not threaten
drew their guns to effectuate the arrest does         Guzman with physical violence or the death
not necessarily establish coercion, neither           penalty during the interview, or in any other
does the fact that Gates was handcuffed.”).           way.
    Though handcuffed to a bench in the                   Although Agent McMullen did fail to
CBP office, Guzman was allowed to use the             notify Guzman’s mother, the Court finds
bathroom if requested (Tr. 9:12-15), which            that his reasons for declining to notify
                                                 13
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Guzman’s mother are credible and                      Accordingly, the Court concludes that the
compelling. Guzman’s mother had been in               government has met its burden and the
contact with Guzman and other suspected               motion to suppress is denied.
gang members in El Salvador. FBI agents
were in El Salvador looking for Cruzito, and                 C. Analysis under the Ninth Circuit
they had honed in on a general location for                            Standard
him. Agent McMullen was legitimately
concerned that Guzman’s mother would                      Though the Court adopts the Sixth
alert Cruzito to the arrest and cause him to          Circuit’s standard, the Court concludes, in
flee. The Court finds that these concerns             the alternative, that it would reach the same
regarding safety and an ongoing fugitive              result under the Ninth Circuit’s standard.
investigation provided compelling grounds             First, the Court finds that law enforcement
under the particular circumstances of this            official’s conduct was not “so egregious as
case for not notifying Guzman’s parents.              to deprive [Guzman] of his right to due
There is no basis whatsoever to conclude              process of law.” Juvenile Male, 595 F.3d at
that the decision to not comply with the              902. Agent McMullen provided a credible
statute was the product of a desire to gain an        and compelling explanation for why
unfair tactical advantage in the interrogation        Guzman’s mother was not contacted.
or to violate Guzman’s constitutional rights.         Guzman was still provided with his Miranda
Additionally, there is simply no indication           warnings, and (as noted above) there is
that the failure to notify Guzman’s mother            nothing to suggest that the agents or
affected Guzman’s waiver of his Miranda               detectives sought to withhold information
rights in any way.                                    from Guzman’s mother to gain an improper
                                                      advantage in the interrogation. Additionally,
    In sum, the Court recognizes that the             the Court finds that Guzman was not
failure to notify Guzman’s mother of his              prejudiced by the violation. There is nothing
arrest as required under Section 5033 and             to suggest that Guzman relied heavily on his
the absence of a parent during questioning            mother for guidance. Guzman joined MS-13
require this Court to exercise special care in        at age ten (Ex. 3), and had spent three years
assessing whether this juvenile knowingly,            in juvenile detention. (Ex. 8.) Guzman
intelligently, and voluntarily waived his             traveled to El Salvador without his mother
Miranda rights. However, when those                   and returned to the United States by himself.
factors are balanced against the other factors        Given these circumstances, the Court finds
that relate to the circumstances surrounding          that the violation of the JDA’s parental
the interrogation – including (1) Guzman’s            notification requirement did not cause the
age (4 days from his eighteenth birthday),            juvenile’s statement and, thus, did not
experience with law enforcement, education,           prejudice him in any way. Instead, it is the
background, and intelligence, (2) his clear           Court’s conclusion that, had the parental
capacity to understand the warnings given to          notification been made, that Guzman’s
him, the nature of his Fifth Amendment                Miranda waiver and interrogation still
rights, and the consequences of waiving               would have occurred exactly as it did on that
those rights, and (3) the conditions of the           date absent that notification.9 In short, the
questioning and the agents’ conduct – the             9
Court finds that the totality of the                   The Ninth Circuit has suggested that a violation of
                                                      Section 5033 is prejudicial to a juvenile because the
circumstances demonstrate that his waiver             parents, if properly notified, could have requested to
was knowing, intelligent, and voluntary.              communicate and confer with the juvenile before
                                                 14
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violation was harmless to Guzman beyond a                                          ***
reasonable doubt.
                                                                The United States is represented by Loretta
                 III. CONCLUSION                                E. Lynch, U.S. Attorney, Eastern District of
                                                                New York, 271 Cadman Plaza East,
    For the foregoing reasons, the                              Brooklyn, New York 11201 by John J.
defendant’s motion to suppress is denied.                       Durham and Raymond A. Tierney, Assistant
                                                                U.S. Attorneys. Defendant Aldalberto Ariel
                  SO ORDERED.                                   Guzman is represented by Steven
                                                                Losquadro, Steven Losquadro, P.C., 649
                                                                Route 25A, Suite 4, Rocky Point, NY
                                                                11778.
                  ______________________
                  JOSEPH F. BIANCO
                  United States District Judge


Dated: July 26, 2012
       Central Islip, New York




questioning and that request, which would have to be
honored by the police, could result in the juvenile
declining to waive his rights. See, e.g., United States
v. Doe, 219 F.3d 1009, 1017 (9th Cir. 2000) (“We
therefore hold that if the juvenile or his parents
request to communicate and confer with each other
prior to questioning, such a request may not be
unreasonably refused.”). This Court disagrees. As
discussed supra, there is nothing in Section 5033 or
in the Constitution that provides a right by a parent or
guardian to speak to a juvenile before interrogation.
Thus, even if Guzman’s mother had been notified and
asked to speak to Guzman, such a request could have
been rejected by the police. In any event, even
assuming arguendo that such a right to talk to a
juvenile generally exists and cannot be unreasonably
refused, refusal by the agents to allow such conferral
in this case by telephone with the mother would have
been reasonable in light of the concerns about the
mother’s assistance to MS-13 gang members.
Moreover, there is no indication in the record as to
what the mother would have advised Guzman to do
even if she had consulted with him. Accordingly,
under the particular circumstances of this case, the
failure to notify Guzman’s mother under Section
5033 did not cause his Miranda waiver.

                                                           15
